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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

L.G. byi his mother and natural guardian, JENNIFER                Civil Action No. 2:17-cv-453
GILMORE, C.G., by his mother and natural guardian,                (ADS)(ARL)
ZOILA PATRICIA GARCES, A.D., by his mother and
natural guardian, NICOLE SUGRUE and E.M., by his
mother and natural guardian, PAMALA MUNIZ,

                                           Plaintiffs,            NOTICE OF WITHDRAWAL

                -against-

LONG BEACH PUBLIC SCHOOLS, LISA WEITZMAN,
JEANMARIE LILLEY, LAUREN SCHNEIDER,
SABRINA CANTORE, VINCENT RUSSO,
DR. RANDIE BERGER, DR. MICHELE NATALI and
DAVID WEISS, in their individual and official capacities,

                                           Defendants.


TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

          PLEASE TAKE NOTICE, that JOHN P. FLAHERTY is no longer attorney of record for

defendants, LISA WEITZMAN, JEAN MARIE            LILLEY and LAUREN SCHNEIDER, in           the

above-entitled action and should be removed from the Court's service list with respect to this

action.

Dated: Uniondale, New York
           August 22,2019
                                           CONGDON, FLAHERTY, O'CALLAGHAN,
                                           REID, DONLON, TRAVIS & FISHLINGER


                                           By:
                                                         JOHN P           rY (08e6)
                                           Attorneys For               _ LISA WEITZMAN,
                                           JEAN MARIE LILLEY And LAUREN SCHNEIDER,
                                           in their individual and fficial capacities
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